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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA   )                    INDICTMENT
                           )
                           )                    Case No. __________________
           v.              )
                           )                    Violation: 21 U.S.C. §§ 846 and 853;
                           )                    and 18 U.S.C. §§ 924(c)(1)(A) and 2
MANUEL CUEVAS-ALONSO,      )
a/k/a ROBERTO RODRIGUEZ;   )
a/k/a CHANGO;              )
ISIDRO ALVARADO;           )
SCOTT STEVEN RAZMYSLOWSKI; )
JOSHUA ALLEN HULST; and    )
FRAENCHOT DEON BANKS       )

                                      COUNT ONE

Conspiracy to Possess with Intent to Distribute and Distribute Controlled Substances

The Grand Jury Charges:

      From in or about January 2009 and continuously through the date of this

Indictment, in the District of North Dakota, Minnesota, and elsewhere,

   MANUEL CUEVAS-ALONSO, a/k/a ROBERTO RODRIGUEZ, a/k/a CHANGO;
                      ISIDRO ALVARADO;
                 SCOTT STEVEN RAZMYSLOWSKI;
                   JOSHUA ALLEN HULST; and
                   FRAENCHOT DEON BANKS

did knowingly and intentionally combine, conspire, confederate, and agree together and

with others, both known and unknown to the grand jury, to possess with intent to

distribute and distribute in excess of 500 grams of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance; in excess of
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5,000 grams (5 kilograms) of a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance; marijuana, a Schedule I controlled substance;

and ecstacy (3,4-methylenedioxy-methamphetamine - MDMA), a Schedule I controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1), and Title 18,

United States Code, Section 2.

                                        Overt Acts

       In furtherance of this conspiracy and to effect and accomplish the objects of it, one

or more of the conspirators committed the following overt acts:

       1. It was a part of said conspiracy that on or about October 16, 2009, SCOTT

STEVEN RAZMYSLOWSKI sold a mixture and substance containing detectable amount

of marijuana, a Schedule I controlled substance, in Crookston, Minnesota;

       2. It was further a part of said conspiracy that on or about December 10, 2009,

SCOTT STEVEN RAZMYSLOWSKI sold a mixture and substance containing

detectable amount of marijuana, a Schedule I controlled substance, in Crookston,

Minnesota;

       3. It was further a part of said conspiracy that on or about September 1, 2010,

JOSHUA ALLEN HULST sold a mixture and substance containing a detectable amount

of ecstacy, a Schedule I controlled substance, in Crookston, Minnesota;




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      4. It was further a part of said conspiracy that on or about September 24, 2010,

JOSHUA ALLEN HULST sold a mixture and substance containing a detectable amount

cocaine, a Schedule II controlled substance, in Crookston, Minnesota;

      5. It was further a part of said conspiracy that on or about November 3, 2010,

SCOTT STEVEN RAZMYSLOWSKI sold a mixture and substance containing

detectable amount of cocaine, a Schedule II controlled substance, in Crookston,

Minnesota;

      6. It was further a part of said conspiracy that on or about November 16, 2010,

SCOTT STEVEN RAZMYSLOWSKI sold a mixture and substance containing

detectable amount of cocaine, a Schedule II controlled substance, in Crookston,

Minnesota;

      7. It was further a part of said conspiracy that on or about November 23, 2010,

JOSHUA ALLEN HULST sold a mixture and substance containing detectable amount of

cocaine, a Schedule II controlled substance, in Crookston, Minnesota;

      8. It was further a part of said conspiracy that SCOTT STEVEN

RAZMYSLOWSKI and JOSHUA ALLEN HULST did possess with intent to distribute

in excess of 500 grams of a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance; a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance; marijuana, a




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Schedule I controlled substance; and ecstacy, a Schedule I controlled substance, on

December 10, 2010, in Grand Forks, North Dakota;

       9. It was further a part of said conspiracy that the defendants and others would and

did possess with intent to distribute and did distribute in excess of 500 grams of a mixture

and substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, within the state of Minnesota and elsewhere;

       10. It was further a part of said conspiracy that the defendants and others would

and did attempt to conceal their activities;

       11. It was further a part of said conspiracy that the defendants and others would

and did use telecommunication facilities; and

       12. It was further a part of said conspiracy that the defendants and others would

and did use United States currency in their drug transactions;

       In violation of Title 21, United States Code, Section 846; Pinkerton v. United

States, 328 U.S. 640 (1946).




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                                      COUNT TWO

         Possession of a Firearm in Furtherance of Drug Trafficking Crime

The Grand Jury Further Charges:

       In or about December 10, 2010, in the District of North Dakota, and elsewhere,

                          SCOTT STEVEN RAZMYSLOWSKI

did knowingly possess a firearm in furtherance of a drug trafficking crime for which he

may be prosecuted in a court of the United States, to wit: conspiracy to possess with

intent to distribute and distribute controlled substances, as set forth in Count One above;

       In violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.




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                                     COUNT THREE

         Possession of a Firearm in Furtherance of Drug Trafficking Crime

The Grand Jury Further Charges:

       In or about December 10, 2010, in the District of North Dakota, and elsewhere,

                                JOSHUA ALLEN HULST

did knowingly possess a firearm in furtherance of a drug trafficking crime for which he

may be prosecuted in a court of the United States, to wit: conspiracy to possess with

intent to distribute and distribute controlled substances, as set forth in Count One above;

       In violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.




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                                   Forfeiture Allegation

The Grand Jury Further Finds Probable Cause That:

       Upon the conviction of defendants MANUEL CUEVAS-ALONZO, a/k/a

ROBERTO RODRIGUEZ, a/k/a CHANGO; ISIDRO ALVARADO; and FRAENCHOT

DEON BANKS of any one of the controlled substance offenses alleged in Count One, in

violation of Title 21, United States Code, Section 846,

MANUEL CUEVAS-ALONSO, a/k/a ROBERTO RODRIGUEZ, a/k/a CHANGO;
                     ISIDRO ALVARADO;
                SCOTT STEVEN RAZMYSLOWSKI;
                  JOSHUA ALLEN HULST; and
                  FRAENCHOT DEON BANKS

shall forfeit to the United States pursuant to Title 21, United States Code, Section 853,

any and all property constituting or derived from any proceeds the defendant obtained

directly or indirectly as a result of the violations and any and all property used or intended

to be used in any manner or part to commit or to facilitate the commission of the

violations alleged in Count One of this Indictment, including, but not limited to, the

following:

              $39,100 in United States currency

       If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

              (a) cannot be located upon the exercise of due diligence;

              (b) has been transferred or sold to, or deposited with, a third party;



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              (c) has been placed beyond the jurisdiction of the court;

              (d) has been substantially diminished in value; or

              (e) has been commingled with other property which cannot be divided

              without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), to seek forfeiture of any other property of said defendant up to the value

of the forfeitable property described above;

       In violation of Title 21, United States Code, Section 853.

                                           A TRUE BILL:




                                           /s/ Grand Jury Foreperson

                                           Foreperson




/s/ Timothy Q. Purdon
TIMOTHY Q. PURDON
United States Attorney


CCM:ld




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